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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
             v.                           :
                                          :         Case No. 1:21-cr-138 (JEB)
AARON MOSTOFSKY                           :
                                          :
             Defendant.                   :


                          NOTICE OF ATTORNEY APPEARANCE
                           AND SUBSTITUTION OF COUNSEL


        The United States of America, by and through its attorney, the United States Attorney for

 the District of Columbia, informs the Court that Assistant United States Attorney (AUSA) Rebekah

 Lederer will appear, in the above captioned case, as counsel. This appearance is in place of

 Assistant United States Attorney Michael Romano.



                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    DC Bar No. 481052


                                              By:    /s/ REBEKAH LEDERER
                                                     REBEKAH LEDERER
                                                     Pennsylvania Bar No. 320922
                                                     Assistant United States Attorney
                                                     U.S Attorney’s Office for District of Columbia
                                                     601 D St. N.W, Washington, DC 20530
                                                     Tel. No. (202) 252-7012
                                                     rebekah.lederer@usdoj.gov
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                                 CERTIFICATE OF SERVICE

      On this 13th day of April 2023, a copy of the foregoing was served upon all parties listed on

the Electronic Case Filing (ECF) System.



                                            /s/ REBEKAH LEDERER
